   Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 1 of 25




                         United States District Court
                                District of Columbia

United States of America
                   Plaintiff,

                    v.                         No. 21-CR-123-PLF

Gossjankowski
                    Defendant.

    EXPERT REPORT OF MARK KROLL, PhD, FACC, FHRS, FIEEE, FAIMBE


This report summarizes my analysis and findings and includes a statement of
my opinions. The report also includes data and other information considered
by me in forming my opinions and sets out my qualifications (including my CV
which is an integral part of this report).




Mark Kroll, PhD, FACC, FHRS, FAIMBE                            12 Dec 2022
     Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 2 of 25




Table of Contents:
   Figures .................................................................................................................... 3
   Tables ..................................................................................................................... 3
Brief Summary of Qualifications ............................................................................ 4
   Most Relevant Committees and Boards: .................................................................. 6
Brief Summary of Opinions: .................................................................................. 7
Referral Questions ................................................................................................ 8
Identification of Device ......................................................................................... 9
Testing ................................................................................................................ 11
Comparison to Electronic Nerve Stimulator Standards ....................................... 13
   Requirements for Minimum Charge ...................................................................... 14
   Requirements for Maximum Charge ..................................................................... 14
Comparison to Stun Gun Standards. ................................................................... 15
   Requirements for Minimum Charge ...................................................................... 15
   Requirements for Maximum Charge ..................................................................... 15
Acoustic Output of the Sparkler Flashlights ........................................................ 16
Was a TASER® Electrical Weapon Involved? ...................................................... 17
General Comments............................................................................................. 19
   Right To Amend: ................................................................................................... 19
   Further Development: ........................................................................................... 19
   Specific References:.............................................................................................. 19
   Opinion Methodology: .......................................................................................... 19
References: ......................................................................................................... 20




                                                                                                                               2
     Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 3 of 25




Figures
Figure 1. Distinctive chiseled front consistent with Vipertek. ......................................................... 9
Figure 2. Large assembly screw holes consistent with Vipertek. ................................................... 9
Figure 3. Red LED consistent with Vipertek. .................................................................................. 9
Figure 4. Grip shoulder consistent with Vipertek......................................................................... 10
Figure 5. The Vipertek VTS-979 case is also sold under the “POLICE 916” label. ....................... 10
Figure 6. Vipertek VTS-979 samples tested ................................................................................. 11
Figure 7. “POLICE” 916 units tested............................................................................................. 11
Figure 8. Output charge as a function of load resistance. ............................................................ 12
Figure 9. Electronic nerve stimulators for blocking pain. ............................................................ 13
Figure 10. Electronic nerve stimulators for developing muscle tone. .......................................... 13
Figure 11. TASER® Federal Trademark Registration ................................................................... 17
Figure 12. TASER® CEW .............................................................................................................. 18



Tables
Table 1. Sound Level of Various Units at 1 meter distance ........................................................... 16




                                                                                                                                     3
    Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 4 of 25




Brief Summary of Qualifications
I am a Biomedical scientist with a primary specialty in bioelectricity or the in-
teraction of electricity and the body. I hold a B.S. degree in Mathematics and a
M.S. degree and a Ph.D. degree in Electrical Engineering from the University
of Minnesota and a M.B.A. degree from the University of St. Thomas. I have in-
vested most of my career researching and developing electrical devices to di-
agnose and treat disease. The primary focus is the effect of electrical shocks on
the human body.*
       This involves researching, lecturing, and publishing on electric shocks
and their effects on the human body. It includes lectures throughout Europe,
South America, and Asia (in 35 countries) as well as at many of the major uni-
versities and medical centers of the United States (U.S.). Usually, the typical au-
dience member is a cardiologist, electrophysiologist, medical examiner, or fo-
rensic pathologist. With over 380 issued U. S. patents and numerous pending
and international patents, I currently hold the most patents on electrical medi-
cal devices of anyone in the world. Over 1 million people have had devices with
some of these patented features in their chest, monitoring every heartbeat.
http://bme.umn.edu/people/adjunct/kroll.html.
       In 2010 I was awarded the Career Achievement Award by the Engineer-
ing in Medicine and Biology Society (EMBS) of the Institute of Electrical and
Electronics Engineers (IEEE) which is the most prestigious award given inter-
nationally in Biomedical Engineering.
http://tc-therapeutic-systems.embs.org/whatsnew/index.html
       I am believed to be the only individual to receive the high “Fellow”
honor from both Cardiology and Biomedical societies. To wit:

1997   Fellow, American College of Cardiology
2009   Fellow, Heart Rhythm Society
2011   Fellow, IEEE Engineering in Medicine and Biology Society
2013   Fellow, American Institute for Medical and Biological Engineering

       I am the author of over 200 abstracts, papers, and book chapters and also
the co-editor of 4 books including the only 2 scientific treatises on Conducted
Electrical Weapons (CEW):

    1. TASER® Conducted Electrical Weapons: Physiology, Pathology and Law.
       Springer-Kluwer 2009.
    2. Atlas of Conducted Electrical Weapon Wounds and Forensic Analysis:
       Springer-Kluwer 2012.




*
 See current CV for further details and specifics. My curriculum vitae containing details of my
relevant formal education, experience, and publications authored is attached and made an in-
tegral part of this report.

                                                                                             4
   Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 5 of 25




Directly relevant paper publications include over 100 papers, books, book
chapters, indexed letters on CEWs and arrest-related death (ARD), and numer-
ous scientific meeting abstracts. 1-110 For more details please see CV.
       I have also made many presentations on CEWs to scientific, medical, pa-
thology, as well as law enforcement, audiences. These include: 2007 American
Academy of Forensic Science (AAFS) conference major presentation in San An-
tonio, Texas and the 2007 BEMS (Bio-electromagnetic Society) meeting Plenary
Address in Kanazawa, Japan.

   1. Major invited lecture at the 2006 NAME (National Association of Medical
       Examiners) conference in San Antonio, Texas.
   2. Advanced Death Investigation Course of St. Louis University (2007) as
       faculty lecturer to full audience.
   3. Faculty lecturer to full audience at Institute for the Prevention of In-Cus-
       tody Death Conferences (2006 and 2007), Las Vegas, Nevada.
   4. Chair of special session on TASER CEW at 2006 Cardiostim meeting in
       Nice, France.
   5. Guest lecture to U.S. Military on CEW in 2006.
   6. “Presenting Rhythm in Sudden Custodial Deaths After Use of TASER®
       Electronic Control Device,” was presented at the 2008 scientific confer-
       ence of the Heart Rhythm Society.
   7. “Can Electrical-Conductive Weapons (TASER®) alter the functional in-
       tegrity of pacemakers and defibrillators and cause rapid myocardial
       capture?” was presented at the 2008 scientific conference of the Heart
       Rhythm Society.
   8. “Weight-Adjusted Meta-Analysis of Fibrillation Risk From TASER® Con-
       ducted Electrical Weapons” presented at the 2009 AAFS conference.
   9. “Meta-Analysis of Fibrillation Risk From TASER® Conducted Electrical
       Weapons as a Function of Body Mass” presented at the 2009 scientific
       conference of the Heart Rhythm Society.
   10. Oral presentation at the 2014 NAME (National Association of Medical Ex-
       aminers) conference in Portland, Oregon.
   11. Pathophysiological Aspects of Electroshock Weapons. University of Salz-
       burg Electroshock Weapon Symposium. Salzburg, Austria. July 2015.
   12. Real and Imagined Risk of Electrical Weapons. University of Salzburg
       Electroshock Weapon Symposium. Salzburg, Austria. Dec 2016.
   13. The Science of Arrest-Related-Death. International Law Enforcement Ed-
       ucators and Trainers Association. Chicago, USA. April 2015.
   14. Arrest-Related Death. United States Department of Justice, San Diego. Jun
       2016.
   15. Arrest-Related Deaths: Managing Your Medical Examiner. Lexipol
       WebCast 20 June 2019.
   16. Defending Non-firearm Arrest-Related Death Cases. International Mu-
       nicipal Lawyers Association Conference. Washington, DC. 24 April 2020.
   17. Science of Restraint-related Death. Office of Special Investigations Train-
       ing Program. New York State Attorney General Division. March 25, 2021

                                                                                5
   Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 6 of 25




In addition to the major addresses above, I have made lectures and presenta-
tions at the U.S. Department of Justice (2007), AAFS (2006), and BEMS (2006)
regarding TASER CEWs.
       I have deployed and discharged TASER CEWs numerous times and have
personally experienced a TASER® X26 CEW probe deployment discharge to
the center of my chest. I have also experienced an Obovov muscle stimulator
output to my thigh.



Most Relevant Committees and Boards:

   1. International Electrotechnical Commission (IEC) (Geneva, Switzerland)
      TC64 MT4 Committee. This committee is the top international authority
      for setting the international electrical safety limits for electrocution and
      other electrical dangers.
   2. Axon Enterprise, Inc. (Axon né TASER), corporate and also Scientific and
      Medical Advisory Board.
   3. ANSI (American National Standards Institute) standards committee on
      electrical weapons.

I have provided courtroom testimony in U.S., Australia, and Canada, along with
being a retained expert in the United Kingdom and France. I also have signifi-
cant research, publications, and testimony in the areas of resuscitation, ARDs
(arrest-related death), prone restraint, and biomechanics. I have been retained
by the United States Department of Justice for several cases involving electrical
weapons. These cases involved criminal prosecution, Border Patrol, and the US
Marshals.




                                                                                6
  Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 7 of 25




Brief Summary of Opinions:

  1. The device in this incident was a Vipertek VTS-979 or POLICE 916.

  2. The device allegedly used in this incident was not a stun gun.

  3. The device allegedly used in this incident was not an electroshock
     weapon.

  4. The device allegedly used in this incident was not a TASER® electrical
     weapon.

  5. The device is best described as a “sparkler flashlight” since its effects
     are primarily auditory and visual and there is no stunning. To use a ca-
     nine analogy, it was all bark and no bite.

  6. It is my opinion to a reasonable degree of scientific certainty that the de-
     vice could not be used in a manner likely to endanger life.

  7. It is also my opinion to a reasonable degree of scientific certainty that
     the device cannot be used in a manner likely to inflict serious bodily
     harm because it cannot cause injury that involves a substantial risk of
     death, extreme physical pain, protracted and obvious disfigurement, or
     protracted loss or impairment of the function of a bodily member, organ,
     or mental faculty.




                                                                               7
   Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 8 of 25




Referral Questions
I was retained by counsel for Mr. Gossjankowski to:

   1. Identify the device held by Mr. Gossjankowski at the U.S. Capitol on Jan-
      uary 6, 2021.
   2. Scientifically analyze the device Mr. Gossjankowski possessed.
   3. Determine whether the device could be used in a manner likely to en-
      danger life or inflict serious bodily harm.




                                                                              8
   Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 9 of 25




Identification of Device
I was able to determine that the unit was either the Vipertek VTS-979 or the
“POLICE” 916 as they use the identical housing and controls. Both devices are
readily available for purchase on Amazon.com.




Figure 1. Distinctive chiseled front consistent with Vipertek.




Figure 2. Large assembly screw holes consistent with Vipertek.




Figure 3. Red LED consistent with Vipertek.




                                                                            9
   Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 10 of 25




Figure 4. Grip shoulder consistent with Vipertek.

This identical housing is also used for the “POLICE 916” model as shown in Fig-
ure 5.




Figure 5. The Vipertek VTS-979 case is also sold under the “POLICE 916” label.




                                                                                 10
   Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 11 of 25




Testing
I purchased and performed electrical testing on 4 units of the Vipertek VTS-979
and 3 of the “POLICE 916” units as shown in Figure 6 and Figure 7.




Figure 6. Vipertek VTS-979 samples tested

This housing shape is also sold as the “POLICE 916” model as shown in Figure
7.




Figure 7. “POLICE” 916 units tested.

The units were tested with a selectable load resistance of 400, 500, 600, 700,
800, 1k, 1.2k, 1.5k, and 2 kΩ.111 The load resistances were made up from Ohm-
ite model OY series 100 Ω and 1 kΩ noninductive ceramic resistors rated for
20 kV and 70 J of capacitive discharge. Series trimming was done with smaller-
value carbon resistors. The load resistance was varied from 400 Ω to 2 kΩ to
cover good thru bad connections.
       The Raw Charge, as a function of resistance is shown in Figure 8 for Vi-
pertek unit #1 and “POLICE” unit #1. The resistance of 500 Ω corresponds to

                                                                             11
   Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 12 of 25




the requirements of the Nerve Stimulator standards used by the US FDA (Food
and Drug Administration). The resistance of 600 Ω corresponds to the require-
ments of the ANSI Stun Gun standards. The higher resistances correspond to
poor connection such as those through clothing.




Figure 8. Output charge as a function of load resistance.

The output of the “POLICE” 916 model (unit #1) was slightly lower than that of
the Vipertek unit #1. With the 500 Ω load required for the nerve stimulator test-
ing the outputs were 0.66 and 0.64 µC for the Vipertek and “POLICE” unit re-
spectively. With the 600 Ω load required for the stun gun testing the outputs
were 0.65 and 0.45 µC for the Vipertek and “POLICE” unit respectively. These
values from units #1 were used for the analysis below.
       Vipertek units #2, 3,and 4 had raw charges of 0.62, 0.60, and 0.60 µC
respectively and thus delivered slightly less charge than unit #1. “POLICE” 916
units #2 and 3 did not function.




                                                                              12
   Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 13 of 25




Comparison to Electronic Nerve Stimulator Standards
Electronic nerve stimulators are well accepted devices used either for blocking
pain (Figure 9) or for developing muscle tone (Figure 10).




Figure 9. Electronic nerve stimulators for blocking pain.




Figure 10. Electronic nerve stimulators for developing muscle tone.

The Vipertek VTS-979 and “POLICE” 916 outputs were tested according to the
standards relied on by the US FDA (Food and Drug Administration) under
21CFR882.5890.
      This particular standard is the AAMI (American Association for Medical
Instrumentation and ANSI (American National Standards Institute) standard
NS4:2013 “Transcutaneous Electrical Nerve Stimulators.”112 With global har-
monization, the FDA is also accepting the international standard, the IEC (Inter-
national Electrotechnical Commission) standard 60601-2 (Nerve and Muscle
Stimulators).113

                                                                              13
  Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 14 of 25




AAMI/ANSI NS4:2013 §3.2.2.1 and IEC 60601-2 §201.12.4.104(a) both specify a
load of 500 Ω so there was no conflict between the standards — for measuring
the output — and thus this load was used for the output testing.


Requirements for Minimum Charge
AAMI ANSI NS4:2013 §B.3.2.2.1 requires a minimum of 7 µC per pulse. The
tested units fail the standard by 90%. Hence, the units are insufficiently strong
to be considered a nerve stimulator by the FDA.


Requirements for Maximum Charge
The point of the requirement for maximum charge is to preclude the possibility
of causing injury. AAMI/ANSI NS4:2013 §3.2.2.2 allows a maximum of 75 µC per
pulse and thus these units satisfy the upper safety limits by over 100 to 1 with
their outputs of 0.66 and 0.64 µC. In other words the tested units put out less
than 1% of the allowable maximum charge by the recognized medical stand-
ards.
        From this we can conclude that the units are unable to endanger life or in-
flict serious bodily harm.




                                                                                14
  Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 15 of 25




Comparison to Stun Gun Standards.
ANSI CPLSO-17 (Electrical Characteristics of ECDs and CEWs) is the relevant
standard for evaluating the outputs of a stun gun.114 ANSI CPLSO-17 §A.1 states
that the load shall be 600 Ω.


Requirements for Minimum Charge
ANSI CPLSO-17 §9.3 requires a minimum of 40 µC of charge. The tested units
failed the standard by 98% and 99% respectively. In other words, the units de-
livered only 1-2% of the required minimum and are thus not stun guns.


Requirements for Maximum Charge
The point of the requirement for maximum charge is to preclude the possibility
of causing injury. ANSI CPLSO-17 §9.4 allows a maximum charge per pulse of
125 µC and thus the units tested satisfy the safety limit by a factor of over 150 to
1. In other words, the tested units put out less than 1% of the allowable maxi-
mum charge by the recognized medical standards.


Based upon my testing of these units it is my opinion that neither the Vipertek
VTS-979 or the “POLICE” 916 devices can be used in a manner likely to endan-
ger life or inflict serious bodily harm.




                                                                                 15
   Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 16 of 25




Acoustic Output of the Sparkler Flashlights
I tested the output of the sparkler flashlights using the standard 1-meter dis-
tance from the sound pressure level meter and the electrical arc of the unit. The
results are shown below.

Table 1. Sound Level of Various Units at 1 meter distance
 Model              Sound Level (dBA)
 Police 916                109.2
 Vipertek VTS-979          106.8

These sound pressure levels are quite high. The output waveforms of the de-
vices are consistent with maximizing the electrical arcing sound and not with
providing nerve stimulation.




                                                                              16
  Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 17 of 25




Was a TASER® Electrical Weapon Involved?
The Indictment states (Count 3):
      On or about January 6, 2021, within the District of Columbia, VITALI GOSSJAN-
      KOWSKI, using a deadly or dangerous weapon, that is, a Taser, did forcibly
      assault, resist, oppose, impede, intimidate, and interfere with, an officer and
      employee of the United States, and of any branch of the United States Govern-
      ment (including any member of the uniformed services), that is, M.M., an officer
      from the United States Capitol Police Department, while such officer or em-
      ployee was engaged in or on account of the performance of official duties.

And, in Count 4:
      On or about January 6, 2021, within the District of Columbia, VITALI GOSSJAN-
      KOWSKI, did unlawfully and knowingly enter and remain in a restricted build-
      ing and grounds, that is, any posted, cordoned-off, and otherwise restricted
      area within the United States Capitol and its grounds, where the Vice President
      was temporarily visiting, without lawful authority to do so, and, during and in
      relation to the offense, did use and carry a deadly and dangerous weapon, that
      is, a Taser.

As discussed above, a sparkler flashlight is not a deadly or dangerous weapon.




Figure 11. TASER® Federal Trademark Registration




                                                                                         17
  Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 18 of 25




As shown in Figure 11, TASER® is a federally registered trademark for an ex-
pensive (~$1000 each) high-performance Conducted Electrical Weapon
(CEW) used by law enforcement. The TASER CEW can temporarily paralyze
someone by locking up their muscles from wire connections to 2 probes that
are separated by at least 30 cm (12 in.) on the body.115 See Figure 12. The X26
model pictured below delivers charges of over 100 µC.55




Figure 12. TASER® CEW

The TASER® CEWs should not confused with sparkler flashlights that are fo-
cused on making a loud electrical noise.




                                                                             18
  Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 19 of 25




General Comments
Right To Amend:
The opinions in this report are living opinions. Should additional discovery ma-
terial be received, or additional research be completed, and then reviewed,
these opinions may be altered or reinforced depending upon what information
is obtained, reviewed, or studied. If new issues are opined, identified, or de-
veloped subsequent to submission of this report, I reserve the right to supple-
ment, or further supplement, this report. I especially reserve the right to amend
my report after receiving new forensic evidence.


Further Development:
Further, the opinions, which are expressed in this report, are listed to comply
with current report requests. Each opinion may be further developed through
research, investigation, during deposition or trial testimony.


Specific References:
Some of the opinions in this report may list specific references to some of the
case specific documents reviewed or considered. These listings are not in-
tended to be all-inclusive. I specifically reserve the right to supplement the
support for each of the opinions in this report.


Opinion Methodology:
The enclosed opinions were developed using the disciplines of bioelectricity,
electrophysiology, biomedical science, cardiovascular physiology, scientific
methods, mathematics, and physics and are to a reasonable degree of profes-
sional and scientific certainty.
       Additionally, the opinions provided in this case were developed using
one or more qualitative and quantitative research methodologies, in addition
to my education, training, experience, and literature review.




                                                                              19
   Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 20 of 25




References:
1. Kunz SN, Calkins HG, Adamec J, Kroll MW.           13. Kroll MW, Still GK, Neuman TS, Graham MA,
Adrenergic and metabolic effects of electrical        Griffin LV. Acute forces required for fatal
weapons: review and meta-analysis of human            compression asphyxia: A biomechanical model
data. Int J Legal Med. Sep 2018;132(5):1469-1475.     and historical comparisons. Med Sci Law. Apr
doi:10.1007/s00414-018-1771-2                         2017;57(2):61-68.
2. Kunz SN, Calkins H, Adamec J, Kroll MW.            doi:10.1177/0025802417695711
Cardiac and skeletal muscle effects of electrical     14. Kroll M, Ritter M, Williams H. Fatal and Non-
weapons : A review of human and animal                fatal Burn Injuries with Electrical Weapons and
studies. Forensic Sci Med Pathol. Sep                 Explosive Fumes. J Forensic and Legal Medicine.
2018;14(3):358-366.      doi:10.1007/s12024-018-      20 June 2017;50:6-11.
9997-3                                                15. Kroll M, Brave M. TASER® Conducted
3. Kroll MW, Ritter MB, Kennedy EA, et al. Eye        Electrical Weapons. In: Vilke Ra, ed. Guidelines
injuries from electrical weapon probes:               for Investigating Officer Involved Shootings,
Incidents, prevalence, and legal implications. J      Arrest-Related Deaths, and Deaths in Custody.
Forensic Leg Med. Feb 14 2018;55:52-57.               Taylor and Francis; 2017:246-271:chap 13.
doi:10.1016/j.jflm.2018.02.013                        16. Kroll M. Positional, Compression, and
4. Kroll MW, Ritter MB, Kennedy EA, et al. Eye        Restraint Asphyxia: A Brief Review. Technical
injury from electrical weapon probes:                 Report.
Mechanisms and treatment. Am J Emerg Med. Jun         https://www.researchgate.net/publication/313
2                                 2018:epublished.    205063_Positional_Compression_and_Restraint
doi:10.1016/j.ajem.2018.06.004                        _Asphyxia_A_Brief_Review
5. Kroll MW, Hail SL, Kroll RM, Wetli CV,             17. Brave M, Kroll M, Karch S, et al. Medical
Criscione JC. Electrical weapons and excited          Examiner Collection of Comprehensive,
delirium: shocks, stress, and serum serotonin.        Objective Medical Evidence for Conducted
For Sci Med Pathol. 2018:epublished.                  Electrical Weapons and Their Temporal
6. Kroll M. A new study looks at the cognitive        Relationship to Sudden Arrest International
effects of electronic control vs. physical exertion   Conference on Forensic Science and Crime,
and alcohol.: Invited Review. PoliceOne. Jan          London. 19 Jan 2017;
2018;                                                 18. Panescu D, Kroll MW, Brave M. Current
7. Kroll M. Cause-Of-Death Challenges in              distribution in tissues with conducted electrical
Arrest-Related Deaths. PoliceOne. June 2018;          weapons operated in drive-stun mode. Conf
8. Kroll M. Arrest Related Death Investigation        Proc IEEE EMBC. Aug 2016;38:5241-5245.
Checklist. In: Vilke Ra, ed. Guidlines for            doi:10.1109/EMBC.2016.7591909
Investigating Officer Involved Shootings, Arrest-     19. Kroll MW, Ritter MB, Guilbault RA, Panescu
Related Deaths, and Deaths in Custody. Taylor         D. Infection Risk From Conducted Electrical
and Francis; 2018:259-264.                            Weapon Probes: What Do We Know? J Forensic
9. Chiles B, Nerheim M, Brave M, Kroll M.             Sci.          Nov          2016;61(6):1556-1562.
Electrical Weapon Charge Delivery with Arcing.        doi:10.1111/1556-4029.13148
EMBC Proceedings. 2018;40                             20. Kroll MW, Luceri RM, Lakireddy D, Calkins
10. Panescu D, Nerheim M, Kroll MW, Brave M.          H. Do TASER Electrical Weapons Actually
New Conducted Electrical Weapons: Electrical          Electrocute? Can J Cardiol. Oct 2016;32(10):1261
Safety Relative to Relevant Standards. . Conf Proc    e11. doi:10.1016/j.cjca.2015.12.030
IEEE EMBC. Jul 2017;39:2185 - 2190.                   21. Kroll MW, Adamec J, Wetli CV, Williams HE.
11. Panescu D, Kroll MW, Brave M. New                 Fatal traumatic brain injury with electrical
Conducted Electrical Weapons: Finite Element          weapon falls. J Forensic Leg Med. Oct
Modeling of Safety Margins. . Conf Proc IEEE          2016;43:12-19. doi:10.1016/j.jflm.2016.07.001
EMBC. Jul 2017;39:2170 - 2176.                        22. Karch SB, Brave MA, Kroll MW. On
12. Panescu D, Kroll MW, Brave M. New                 positional asphyxia and death in custody. Med
Conducted Electrical Weapons: Thoracic Cage           Sci        Law.        Jan       2016;56(1):74-5.
Shielding Effects. . Conf Proc IEEE EMBC. Jul         doi:10.1177/0025802415598807
2017;39:2191-2196.


                                                                                                    20
   Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 21 of 25



23. Griffin L, Kroll M. Rib-cage strength            35. Panescu D, Kroll M, Brave M. Limitations of
calculator.                                          animal electrical cardiac safety models. Conf
https://www.researchgate.net/publication/311         Proc        IEEE      EMBC.       2014;36:6483-6.
518699_Rib-cage_strength_calculator                  doi:10.1109/EMBC.2014.6945113
24. Brave MA, Lakkireddy DR, Kroll MW.               36. Panescu D, Kroll M, Brave M. Transthoracic
Validity of the small swine model for human          cardiac stimulation thresholds for short pulses.
electrical safety risks. Conf Proc IEEE EMBC. Aug    Conf Proc IEEE EMBC. 2014;36:4471-4.
2016;38:2343-2348.                                   doi:10.1109/EMBC.2014.6944616
doi:10.1109/EMBC.2016.7591200                        37. Kroll MW, Lakkireddy DR, Stone JR, Luceri
25. Walcott GP, Kroll MW, Ideker RE.                 RM. Response to letter regarding article,
Ventricular fibrillation: are swine a sensitive      "TASER electronic control devices and cardiac
species? J Interv Card Electrophysiol. Mar           arrests: coincidental or causal?". Circulation.
2015;42(2):83-9. doi:10.1007/s10840-014-9964-1       Nov              04            2014;130(19):e168.
26. Panescu D, Kroll MW, Andrews CJ, Pratt H.        doi:10.1161/CIRCULATIONAHA.114.010923
Transthoracic Ventricular Fibrillation Charge        38. Kroll MW, Lakkireddy DR, Stone JR, Luceri
Thresholds. Conf Proc IEEE EMBC. Aug 26              RM. TASER electronic control devices and
2015;37:7208-7213.                                   cardiac arrests: coincidental or causal?
27. Panescu D, Kroll MK, Brave MA. Cardiac           Supplement. Case Reports. Circulation. Jan 7
fibrillation risks with TASER conducted              2014;129(1):On           Line        Supplement.
electrical weapons. Conf Proc IEEE EMBC.             doi:10.1161/CIRCULATIONAHA.113.004401
2015;37:323-9. doi:10.1109/EMBC.2015.7318365         39. Kroll MW, Lakkireddy DR, Stone JR, Luceri
28. Kroll MW, Perkins PE, Panescu D. Electric        RM. TASER electronic control devices and
Fence Standards Comport with Human Data and          cardiac arrests: coincidental or causal? Case
AC Limits. Conf Proc IEEE EMBC. Aug 25               Reports. Circulation. Jan 7 2014;129(1):93-100.
2015;37:1343-1348.                                   doi:10.1161/CIRCULATIONAHA.113.004401
29. Kroll M. A Brief Primer on Cardiac Arrest        40. Graham M, Karch S, Wetli C, Kroll M, Brave
Rhythms               Technical            Report.   M.      Medical     Examiner     Collection    of
https://www.researchgate.net/publication/316         Comprehensive, Objective Medical Evidence
524318_A_Brief_Primer_on_Cardiac_Arrest_Rh           for Conducted Electrical Weapons and Their
ythms                                                Temporal Relationship to Sudden Arrest. NAME
30. Kroll M. Significance of Sound During CEW        Annual Conference. 2014;
Application.            Technical          Report.   41. Criscione JC, Kroll MW. Incapacitation
https://www.researchgate.net/publication/275         recovery times from a conductive electrical
024090_Significance_of_Sound_During_CEW_A            weapon exposure. Forensic Sci Med Pathol. Jun
pplication                                           2014;10(2):203-7. doi:10.1007/s12024-014-9551-
31. Kroll M. Conducted Electrical Weapon             x
Drive-Stun Mode: Skin Rub vs. Injection.             42. Panescu D, Nerheim M, Kroll MW. Electrical
Technical                                  Report.   safety of conducted electrical weapons relative
https://www.researchgate.net/publication/275         to requirements of relevant electrical standards.
035976_Conducted_Electrical_Weapon_Drive-            Conf Proc IEEE EMBS. 2013;35:5342-7.
Stun_Mode_Skin_Rub_vs_Injection                      43. Kroll M. Arrest-Related Death: Evidence
32. Kroll M. Baseball, Poison, and Soup Recipes:     Collection.            Technical          Report.
The TASER Trio of Popular Myths. Technical           https://www.researchgate.net/publication/262
Report.         ResearchGatenet.         2015:1-3.   639672_Arrest-
doi:10.13140/RG.2.1.3348.4320                        Related_Death_Evidence_Collection
33. Irnich W, Kroll MW. A Model of                   44. Kroll MW, Walcott GP, Ideker RE, et al. The
Electrostimulation Based on the Membrane             stability of electrically induced ventricular
Capacitance as Electromechanical Transducer          fibrillation. Conf Proc IEEE EMBC. 2012;34:6377-
for Pore Gating. Pacing Clin Electrophysiol. Jul     81. doi:10.1109/EMBC.2012.6347453
2015;38(7):831-45. doi:10.1111/pace.12573            45. Kroll MW, Panescu D. Physics of Electrical
34. Panescu D, Kroll M, Iverson C, Brave M. The      Injury. In: Ho JD, Dawes DM, Kroll MW, eds. Atlas
sternum as an electrical shield. Conf Proc IEEE      of conducted electrical weapon wounds and
EMBC.                             2014;36:4464-70.   forensic analysis. Springer; 2012:25-45.
doi:10.1109/EMBC.2014.6944615

                                                                                                   21
   Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 22 of 25



46. Kroll MW, Fish RM, Lakkireddy D, Luceri            58. Vanga SR, Bommana S, Kroll MW, Swerdlow
RM, Panescu D. Essentials of low-power                 C, Lakkireddy D. TASER conducted electrical
electrocution: established and speculated              weapons and implanted pacemakers and
mechanisms.         Conf    Proc    IEEE     EMBC.     defibrillators.     Conf    Proc   IEEE    EMBC.
2012;34:5734-40.                                       2009;31:3199-204.
47. Kroll MW, Fish RM, Calkins H, Halperin H,          doi:10.1109/IEMBS.2009.5333136
Lakkireddy D, Panescu D. Defibrillation success        59. Panescu D, Kroll MW, Stratbucker RA.
rates for electrically-induced fibrillation: hair of   Medical safety of TASER conducted energy
the dog. Conf Proc IEEE EMBC. 2012;34:689-93.          weapon in a hybrid 3-point deployment mode.
doi:10.1109/EMBC.2012.6346025                          Conf Proc IEEE EMBC. 2009;31:3191-4.
48. Kroll MW, Dawes DM, Heegaard WG.                   doi:10.1109/IEMBS.2009.5334538
TASER electronic control devices and eye               60. Kroll MW, Panescu D, Carver M, Kroll RM,
injuries. Doc Ophthalmol. Apr 2012;124(2):157-         Hinz AF. Cardiac effects of varying pulse charge
9. doi:10.1007/s10633-012-9310-9                       and polarity of TASER conducted electrical
49. Kroll M. Realities of biomedical product           weapons. Conf Proc IEEE EMBC. 2009;31:3195-8.
liability suits and the role of junk science: from     doi:10.1109/IEMBS.2009.5333135
breast implants to TASER weapons. IEEE Pulse.          61. Kroll MW. Physiology and pathology of
Sep-Oct                            2012;3(5):27-32.    TASER electronic control devices. J Forensic Leg
doi:10.1109/MPUL.2012.2205778                          Med. May 2009;16(4):173-7.
50. Ho J, Dawes D, Kroll M. Atlas of Conducted         62. Kroll M, Wetli CV, Mash D, Karch S, Graham
Electrical Weapons and Forensic Analysis.              M, Ho J. Excited Delirium Syndrome Checklist.
Springer; 2012:204.                                    In: Kroll M, Ho J, eds. TASER Conducted Electrical
51. Walcott GP, Kroll MW, Ideker RE.                   Weapons: Physiology, Pathology, and Law.
Ventricular fibrillation threshold of rapid short      Springer-Kluwer; 2009:chap Appendix A.
pulses. Conf Proc IEEE EMBC. 2011;33:255-8.            63. Kroll M, Panescu D, Brewer J, Lakkireddy D,
52. Kroll MW, Lakkireddy D, Rahko PS, Panescu          Graham M. Meta-Analysis Of Fibrillation Risk
D. Ventricular fibrillation risk estimation for        From TASER Conducted Electrical Weapons as a
conducted        electrical   weapons:      critical   Function of Body Mass. abstract. Heart Rhythm.
convolutions. Conf Proc IEEE EMBC. 2011;33:271-        2009;6:AB20-1.
7. doi:10.1109/IEMBS.2011.6090053                      64. Kroll M, Panescu D, Brewer J, Lakkireddy D,
53. Kroll M. TASER® Conducted Electrical               Graham M. Weight Adjusted Meta-Analysis of
Weapons: Clinical Forensic Medicine: A                 Fibrillation Risk From TASER Conducted
Physician's Guide. In: Stark M, ed. Clinical           Electrical Weapons. Proceedings of the
Forensic Medicine: A Physician's Guide.                American Academy of Forensic Science. Feb
Springer; 2011:233-276.                                2009:177-177.
54. Kroll MW, Panescu D, Hinz AF, Lakkireddy           65. Kroll M, Luceri R, Calkins H, Lakkireddy D,
D. A novel mechanism for electrical currents           Ho J. Electrocution Diagnosis Checklist. In: Kroll
inducing ventricular fibrillation: The three-fold      M, Ho J, eds. TASER Conducted Electrical
way to fibrillation. Conf Proc IEEE EMBC.              Weapons: Physiology, Pathology, and Law.
2010;32:1990-6.                                        Springer-Kluwer; 2009:chap Appendix B.
doi:10.1109/IEMBS.2010.5627490                         66. Kroll M. TASER® Electronic Control
55. Dawes DM, Ho JD, Kroll MW, Miner JR.               Devices. In: Fish R, Geddes L, eds. Electrical
Electrical characteristics of an electronic control    Injuries: Medical and Bioengineering Aspects. 2
device under a physiologic load: a brief report.       ed. Lawyers and Judges Publishing Company,
Pacing Clin Electrophysiol. Mar 2010;33(3):330-        Inc.; 2009:455-491:chap 42.
6.                                                     67. Dawes D, Kroll M. Neuroendocrine Effects
56. Biria M, Bommana S, Kroll M, Lakkireddy D.         of CEWs. In: Kroll M, Ho J, eds. TASER Conducted
Multi-System       Interactions   of    Conducted      Electrical Weapons: Physiology, Pathology, and
Electrical Weapons (CEW) – A Review.                   Law. Springer-Kluwer; 2009:chap 15.
Engineering in Medicine and Biology Society            68. Brewer J, Kroll M. Field Statistics Overview.
Proceedings. Sept 2010:1266-1270.                      In: Kroll M, Ho J, eds. TASER Conducted Electrical
57. Kroll MW, Ho JD. TASER® Electronic Control         Weapons: Physiology, Pathology, and Law.
Devices: Physiology, Pathology, and Law.               Springer-Kluwer; 2009:chap 24.
Springer; 2009 457.

                                                                                                      22
   Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 23 of 25



69. Panescu D, Kroll MW, Stratbucker RA.              80. Sweeney J, Kroll M, Panescu D. Analysis of
Theoretical possibility of ventricular fibrillation   Electrical Activation of Nerve and Muscle by
during      use     of   TASER      neuromuscular     TASERs. Proceedings of the American Academy
incapacitation devices. Conf Proc IEEE EMBC.          of Forensic Science. 2006;XII:142-143.
2008;30:5671-4.                                       81. Stratbucker RA, Kroll MW, McDaniel W,
doi:10.1109/IEMBS.2008.4650501                        Panescu D. Cardiac current density distribution
70. Lakkireddy D, Biria M, Baryun E, et al. Can       by electrical pulses from TASER devices. Conf
Electrical-Conductive Weapons (TASER®) alter          Proc       IEEE       EMBC.       2006;28:6305-7.
the functional integrity of pacemakers and            doi:10.1109/IEMBS.2006.260374
defibrillators and cause rapid myocardial             82. Panescu D, Kroll MW, Efimov IR, Sweeney
capture? Heart Rhythm. June 2008;5(5):S97.            JD. Finite element modeling of electric field
71. Kroll MW, Calkins H, Luceri RM, Graham            effects of TASER devices on nerve and muscle.
MA, Heegaard WG. Sensitive swine and TASER            Conf Proc IEEE EMBC. 2006;28:1277-9.
electronic control devices. Acad Emerg Med. Jul       doi:10.1109/IEMBS.2006.260376
2008;15(7):695-6; author reply 696-8.                 83. Kroll M, Swerdlow C, Sweeney J. Scientific
72. Kroll MW, Calkins H, Luceri RM, Graham            Basis for the Cardiac Safety of the TASER
MA, Heegaard WG. TASER safety (Review of a            Electronic Control Device. Proceedings of the
review). Can Med Assoc J. Sep 23                      American Academy of Forensic Science. Feb
2008;179(7):677-8.                                    2006;XII:139-140.
73. Kroll MW, Calkins H, Luceri RM, Graham            84. Kroll     M,     Panescu     D.   Theoretical
MA, Heegaard WG. Electronic control devices           Considerations Regarding The Safety of Law
(Response to Editorial). Can Med Assoc J. Aug 12      Enforcement Electronic Control Devices. 2006:
2008;179(4):342-3.                                    85. Kroll MW, Ho JD, Vilke GM. 8 facts about
74. Kroll MW, Calkins H, Luceri RM. Electronic        excited delirium syndrome (ExDS) we learned
control devices and the clinical milieu. J Am Coll    in 2018. PoliceONE. 11 March 2019 2019;
Cardiol. Feb 13 2007;49(6):732; author reply          86. Kroll MW, Brave MA, Kleist SR, Ritter MB,
732-3.                                                Ross DL, Karch SB. Applied Force During Prone
75. Kroll M, Panescu D, Ho J, et al. Potential        Restraint: Is Officer Weight a Factor? Am J
Errors in Autopsy Reports of Custodial Deaths         Forensic Med Pathol. Mar 2019;40(1):1-7.
Temporally Associated With Electronic Control         doi:10.1097/PAF.0000000000000457
Devices: A Cardiovascular Prospective.                87. Kroll     M.    Basics    of    Electrocution.
Proceedings of the American Academy of                ResearchGate.
Forensic          Science.       2007;XIII:284-285.   2021:https://www.researchgate.net/publication
doi:10.13140/2.1.4550.9923                            /356194079_Electrocution_Primer.         doi:DOI:
76. Kroll M, Luceri RM, Calkins H. A very             10.13140/RG.2.2.17175.29608
interesting case study involving a TASER              88. Kroll M, Brave M, Pratt H, Witte K, Kunz S,
Conducted Electrical Weapon (CEW) used on a           Luceri R. Benefits, Risks, and Myths of TASER®
patient with a pacemaker. J Cardiovasc                Handheld Electrical Weapons. Human Factors
Electrophysiol. Dec 2007;18(12):E29-30; author        and Mechanical Engineering for Defense and
reply E31.                                            Safety. 2019;3(1):7.
77. Kroll M. Designing the Waveform of the            89. Kroll MW, Brave MA. Defending Non-
Electronic Control Device to Replace the Police       Firearm Arrest-Related Death Incidents.
Club. presented at: The Bioelectromagnetics           International Municipal Lawyers Association.
Society 29th Annual Meeting; June 10-15 2007;         2020:
Kanazawa, Japan.                                      https://www.researchgate.net/publication/342
78. Kroll M. Potential Autopsy Errors With In-        064787.
Custody-Deaths: The Ronald Hasse Case Study           90. Chiles BD, Nerheim MH, Markle RC, Brave
Institute for the Prevention of In-Custody-Death: .   MA, Panescu D, Kroll MW. Detection of Arcing
2007:http://ipicd.com/Files/Articles/Panel14/H        and High Impedance with Electrical Weapons.
asse_Case_Study.pdf.                                  IEEE Eng Med Biol Soc. 2021;43:1252-1256.
doi:10.13140/2.1.2126.1609                            91. Kroll MW, Panescu D, Hirtler R, Koch M,
79. Kroll M. Crafting the Perfect Shock. IEEE         Andrews CJ. Dosimetry for Ventricular
Spectrum. Dec 2007;44(12):27-30.                      Fibrillation Risk with Short Electrical Pulses:


                                                                                                     23
   Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 24 of 25



History and Future. . Conf Proc IEEE Eng Med Biol   103. Kroll MW, Ritter MB, Perkins PE, Shams L,
Soc. Jul 2019;41:1788-1794.                         Andrews CJ. Perceived Electrical Injury:
92. Chiles BD, Nerheim MH, Brave MA, Panescu        Misleading Symptomology Due to Multisensory
D, Kroll MW. Electrical Weapon Charge               Stimuli. J Emerg Med. May 2019;56(5):e71-e79.
Delivery With Arcing. Conf Proc IEEE Eng Med        doi:10.1016/j.jemermed.2019.01.013
Biol Soc. Jul 2018;2018:2234-2239.                  104. Kroll MW, Ritter MB, Perkins PE, Shams L,
93. Kroll MW, Hail SL, Kroll RM, Wetli CV,          Andrews CJ. Perceived electrical shock and
Criscione JC. Electrical weapons and excited        Bayesian inference with multisensory stimuli.
delirium: shocks, stress, and serum serotonin.      Am J Emerg Med. Mar 2019;37(3):547-548.
Forensic Sci Med Pathol. Dec 2018;14(4):478-483.    doi:10.1016/j.ajem.2018.07.042
doi:10.1007/s12024-018-0005-8                       105. Kroll MW, Brave MA, Hail SL, Kroll RM,
94. Kroll MW, Witte KK, Ritter MB, Kunz SN,         Williams HE. Pneumatic Impedance of Spit
Luceri RM, Criscione JC. Electrical weapons and     Socks and N95 Masks: The Applicability to Death
rhabdomyolysis. Forensic Sci Med Pathol. Mar        Investigation. Am J Forensic Med Pathol. Aug 18
2021;17(1):58-63.        doi:10.1007/s12024-020-    2021;doi:10.1097/PAF.0000000000000706
00311-7                                             106. Kroll MW, Ross DL, Brave MA, Williams HE.
95. Kroll MW, Witte KK, Kunz SN, Luceri RM,         Police shootings after electrical weapon seizure:
Criscione JC. Electrical weapons, hematocytes,      homicide or suicide-by-cop. Int J Legal Med. Nov
and ischemic cardiovascular accidents. J            2021;135(6):2547-2554.       doi:10.1007/s00414-
Forensic Leg Med. Jul 2020;73:101990.               021-02648-2
doi:10.1016/j.jflm.2020.101990                      107. Kroll MW, Brave MA, Kleist SR, Ritter MB,
96. Kroll MW, Andrews CJ, Panescu D.                Ross DL, Karch SB. Prolonging the Prone
Electrocution: Direct-Current Dogma Dies Hard.      Postulate. Am J Forensic Med Pathol. Mar
Am J Forensic Med Pathol. Dec 1 2021;42(4):405-     2020;41(1):81-82.
406. doi:10.1097/PAF.0000000000000712               doi:10.1097/PAF.0000000000000528
97. Chiles BD, Nerheim MH, Markle RC, Brave         108. Kroll MW, Hall CA, Bozeman WP, Luceri RM.
MA, Panescu D, Kroll MW. Estimation of              The prone position paradox. Med Sci Law. Nov 3
Physiological Impedance from Neuromuscular          2021:258024211051436.
Pulse Data. IEEE Eng Med Biol Soc. 2021;43:1246-    doi:10.1177/00258024211051436
1251.                                               109. Kroll MW, Melinek J, Martin JA, Brave MA,
98. Kroll MW, Ritter MB, Kennedy EA, et al. Eye     Williams HE. Confusion between firearms and
injury from electrical weapon probes:               electrical weapons as a factor in police
Mechanisms and treatment. Am J Emerg Med.           shootings. Forensic Sci Med Pathol. Jan 24
Mar                           2019;37(3):427-432.   2022;doi:10.1007/s12024-022-00457-6
doi:10.1016/j.ajem.2018.06.004                      110. Kroll MW, Brave MA, Hail SL, Kroll RM,
99. Chiles BD, Nerheim MH, Brave MA, Panescu        Williams HE. Pneumatic Impedance of Spit
D, Kroll MW. Feed-forward Controlled Electrical     Socks and N95 Masks: The Applicability to Death
Weapon Charge Delivery. IEEE Eng Med Biol           Investigation. Am J Forensic Med Pathol. Mar 1
Soc. 2020:poster presentation.                      2022;43(1):7-10.
100. Kroll MW, Kroll LC, Panescu D, Perkins PE,     doi:10.1097/PAF.0000000000000706
Andrews CJ. High Impedance Electrical               111. Kroll MW, Perkins PE, Pratt H, Stuart E, Bury
Accidents: Importance of Source and Subject         J, Panescu D. Safety of a High-Efficiency
Impedance. Annu Int Conf IEEE Eng Med Biol Soc.     Electrical Fence Energizer. Annu Int Conf IEEE
Jul                           2019;41:1769-1775.    Eng Med Biol Soc. Jul 2020;42:5016-5020.
doi:10.1109/EMBC.2019.8857037                       doi:10.1109/EMBC44109.2020.9176351
101. Kroll MW, Hisey DAS, Andrews CJ, Perkins       112. AAMI. Transcutaneous electrical nerve
PE, Panescu D. Humidity and Ventricular             stimulators. Association for the Advancement of
Fibrillation: When Wet Welding can be Fatal.        Medical        Instrumentation.       2013;AAMI
Conf Proc IEEE Eng Med Biol Soc. 2021;43:1462-      NS4:2013/(R)
1467.                                               113. IEC.     IEC      60601-2-10:      Particular
102. Kroll M, Perkins P, Chiles BD, et al. Output   requirements for the basic safety and essential
of Electronic Muscle Stimulators: Physical          performance of nerve and muscle stimulators.
Therapy and Police Models Compared. Conf            International    Electrotechnical    Commission.
Proc IEEE Eng Med Biol Soc. 2021;43:1264-1268.

                                                                                                   24
   Case 1:21-cr-00123-PLF Document 112-2 Filed 01/18/23 Page 25 of 25



2016:https://webstore.iec.ch/publication/6060    incapacitation during a goal-directed task as a
1.                                               function of probe spread. Forensic Sci Med
114. ANSI. Electrical characteristics of ECD’s   Pathol.         Dec           2012;8(4):358-66.
and CEW’s. Bristol, UK: estandards.net; 2017.    doi:10.1007/s12024-012-9346-x
115. Ho J, Dawes D, Miner J, Kunz S, Nelson R,
Sweeney J. Conducted electrical weapon




                                                                                             25
